Case 3:15-md-02670-JLS-MDD Document 2458 Filed 01/11/21 PageID.229387 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   IN RE: PACKAGED SEAFOOD                          Case No.: 15-MD-2670 JLS (MDD)
     PRODUCTS ANTITRUST LITIGATION
12
                                                      ORDER GRANTING JOINT
13   This Document Relates To:                        MOTION FOR APPROVAL OF
     ALL ACTIONS                                      STIPULATION REGARDING
14
                                                      RENEWED MOTIONS TO SEAL
15
                                                      (ECF No. 2453)
16
17          Pending before the Court is Joint Motion for Approval of Stipulation Regarding
18   Renewed Motions to Seal. (ECF No. 2453, “Joint Motion.”) The Joint Motion seeks to
19   extend the time set in the Order Denying Lion Capital LLP and Big Catch Cayman LP’s
20   Motion to File Documents Under Seal (ECF No. 2448), and Order Denying Plaintiffs’
21   Motions to File Documents Under Seal (ECF No. 2449). Pursuant to Civil Local Rule 7.2
22   and for good cause shown pursuant to Federal Rule of Civil Procedure 6(b), the Joint
23   Motion is granted as follows:
24         1.     No later than January 14, 2021, the Parties shall meet and confer to exchange
25   lists of all documents which they intend to move to maintain under seal, and those that they
26   will no longer seek to maintain under seal, in connection with Plaintiffs’ Motion for
27   Reconsideration and/or Motion for Certification of Rule 54(b) Judgment.
28   ///

                                                  1
                                                                              15-MD-2670 JLS (MDD)
Case 3:15-md-02670-JLS-MDD Document 2458 Filed 01/11/21 PageID.229388 Page 2 of 2



 1         2.     No later than January 21, 2021, the Parties shall submit a Joint Motion to Seal,
 2   if any, which will identify any materials the Parties seek to keep under seal, including the
 3   compelling reasons for sealing those documents.
 4         3.     The Court will issue a scheduling order to refile all of their motion papers and
 5   supporting exhibits in accordance with the Court’s ruling on the Joint Motion to Seal. Prior
 6   to such re-filing, the Parties shall meet and confer to ensure that the filings are re-filed in
 7   the proper sequence in order to avoid confusion on the case docket.
 8         IT IS SO ORDERED.
 9
10   Dated: January 11, 2021
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    2
                                                                                15-MD-2670 JLS (MDD)
